                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                CASE NO.: 5:05CR214-V

UNITED STATES OF AMERICA,            )
               Plaintiff,            )                             FINAL ORDER AND
          v.                         )                         JUDGMENT OF FORFEITURE
                                     )
(1) DONNA FAYE ATKINS REEVES,        )
                  Defendant.         )
____________________________________ )

        On April 29, 2008, this Court entered a Preliminary Order of Forfeiture, pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(b)(2), based upon the convictions of defendant on Bill of

Indictment Count One of a controlled substance conspiracy in violation of 21 U.S.C. §§ 846 and

841(a)(1) and Count Ninety-One of health care fraud in violation of 18 U.S.C. §§ 1347 and 2.

        On July 24, 2008, July 31, 2008, and August 7, 2008, the United States published in The

Alleghany News, a newspaper of general circulation, notice of this forfeiture and of the intent of the

government to dispose of the forfeited property–including $1,550 in U.S. currency, two Rolex

watches, assorted jewelry, and a 1997 Ford Expedition–in accordance with the law, and further notice

to all third parties of their right to petition the Court within thirty days for a hearing to adjudicate the

validity of any alleged legal interest in the property. It appears from the record that no such petitions

have been filed.

        Based on the record in this case, the Court finds, in accordance with Fed. R. Crim. P.

32.2(c)(2) and (e)(1), that the defendant had an interest in the property listed below and such interest

is forfeitable under 18 U.S.C. § 982 and 21 U.S.C. § 853. The Preliminary Order of Forfeiture has

therefore become final as to the below listed property, and the property is subject to forfeiture

pursuant to Rule 32.2(c)(2) and (e)(1).




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       It is therefore ORDERED, ADJUDGED, AND DECREED that all right, title, and interest

in the following property is hereby forfeited to the United States for disposition according to law:

               (a)     $1,550 in United States currency;

               (b)     two Rolex watches, worth approximately $2000;

               (c)     assorted jewelry, worth approximately $3000 to $5000; and

               (d)     one 1997 Ford Expedition, VIN 1FMFU18LXVLC26180.1



                                                 Signed: October 22, 2008




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       The Government has assured this Court that the lien on the Ford Expedition in favor of
Grayson National Bank, referenced in the Preliminary Order of Forfeiture, will be paid by the Police
Department once the vehicle has been confiscated.

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